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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   BLAKE WARNER,

         Plaintiff,

   v.                                            CASE NO. 8:23-cv-181-SDM-UAM

   THE SCHOOL BOARD OF
   HILLSBOROUGH COUNTY,
   FLORIDA,

         Defendant.
   ___________________________________/


                                          ORDER

         Blake Warner responds in opposition to the School Board’s motion for judg-

   ment on the pleadings. Because an attachment (Doc. 87-1) to the response includes

   the full name of Warner’s minor child, Warner moves (Doc. 88) to strike the attach-

   ment. The motion is GRANTED as follows. The first attachment to the response is

   STRICKEN. The clerk must remove from the docket the image at docket entry 87-1.

   Also, the clerk must file as a separate docket entry the attachment (Doc. 88-1) to

   Warner’s motion to strike the attachment.

         ORDERED in Tampa, Florida, on August 13, 2024.
